Case 1:12-md-02358-JDW   Document 146     Filed 12/21/15    Page 1 of 2 PageID #: 2376




                    UNITED STATES COURT OF APPEALS
                         FOR THE THIRD CIRCUIT
                             _______________

                                  No. 13-4300
                                _______________

                  IN RE: GOOGLE INC. COOKIE PLACEMENT
                      CONSUMER PRIVACY LITIGATION

                William Gourley; Jose M. Bermudez; Nicholas Todd
                            Heinrich; Lynne Krause,

                                                           Appellants
                                _______________

                  On Appeal from the United States District Court
                            for the District of Delaware
                               (No. 1-12-md-02358)
                    District Judge: Honorable Sue L. Robinson
                                 _______________

                            Argued December 11, 2014

             Before: FUENTES, FISHER, and KRAUSE, Circuit Judges


                                _______________

                                  JUDGMENT
                                _______________
Case 1:12-md-02358-JDW        Document 146      Filed 12/21/15      Page 2 of 2 PageID #: 2377




           This cause came to be considered on the record from the United States District
  Court for the District of Delaware and was argued on December 11, 2014. On
  consideration whereof, it is now hereby ORDERED and ADJUDGED by this Court that
  the judgment of the District Court of October 9, 2013 is hereby AFFIRMED IN PART
  and VACATED IN PART, and the case is REMANDED for further proceedings. All of
  the above in accordance with the opinion of this Court.



                                              ATTEST:


                                              s/ Marcia M. Waldron
                                              Clerk




  Dated:         November 10, 2015




                                           Certified as a true copy and issued in lieu
                                           of a formal mandate on 12/21/2015

                                           Teste:
                                           Clerk, U.S. Court of Appeals for the Third Circuit
